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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


PETER QUIGLEY,                               )
           Plaintiff,                        )
                                             )
              v.                             )       C.A. No. 18-11131-PBS
                                             )
BAY STATE CRUCIBLE CO.,                      )
           Defendant,                        )
                                             )
                                             )
BAY STATE CRUCIBLE CO.,                      )
           Third Party Plaintiff,            )
                                             )
              v.                             )
                                             )
QUIGLEY CRUCIBLE REFRACTORIES                )
& SPECIALTIES CO., INC.,                     )
            Third Party Defendant.           )
                                             )
                                             )

        CORPORATE DISCLOSURE STATEMENT OF BAY STATE CRUCIBLE CO.

       Pursuant to Fed. R. Civ. P. 7.1, party Bay State Crucible Co. states that it has no parent

corporation and that there is no publicly traded corporation that owns 10% or more of its stock.




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                                              BAY STATE CRUCIBLE CO.,

                                              By its attorneys,



                                              /s/ Matthew A. Kane
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document has been filed through the ECF system and will be
sent electronically to the registered participants identified on the Notice of Electronic Filing and
by first-class mail, postage prepaid, on August 3, 2018, to those identified as non-registered
participants.



                                              /s/ Matthew A. Kane
                                              Matthew A. Kane
Dated: August 3, 2018




4820-6979-3391, v. 4




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